     Case 1:25-cv-00354-RDM            Document 18-1     Filed 02/16/25     Page 2 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



University of California Student Association           Case No 1:25-cv-00354-RDM

   Plaintiffs,

       v.                                              Judge Randolph D. Moss

Denise Carter, in her official capacity as
Acting Secretary of Education, et al.,

   Defendants.


                          DECLARATION OF THOMAS FLAGG

  1. My name is Thomas Flagg. I am the Chief Information Officer (CIO) at the United
     States Department of Education (“Department”). I have held this role since October 2024
     and joined the department officially on October 6, 2024 (Sunday) being sworn into my
     position on October 7, 2024.

  2. In my capacity as CIO, I have governance and oversight over administrative access to
     Department of Education systems, including the ability to audit and review (through
     system administrators and cybersecurity specialists) access history for systems containing
     information protected by the Privacy Act, the Federal Information Security Management
     Act, and other applicable law. This includes administrative access to, among other
     systems, the Federal Student Aid systems, such as the National Student Loan Data
     System (NSLDS) and the Financial Management System (FMS).

  3. The following is based on my personal knowledge or information provided to me in the
     course of performing my duties.

  4. To my knowledge, only Department contractors and employees, including the four
     federal employees on detail to the Department to assist leadership with implementing the
     President’s Department of Government Efficiency (“DOGE”) Executive Order, number
     14,158, have accessed Department information technology and data systems since
     January 20, 2025.

  5. To my knowledge, individuals with access to Department systems that contain
     information potentially protected by the Privacy Act and section 6103 of the Internal
     Revenue Code (that is, Department employees and contractors) have not disclosed



                                               1
  Case 1:25-cv-00354-RDM           Document 18-1        Filed 02/16/25      Page 3 of 3




   information protected by the Privacy Act or section 6103 of the Internal Revenue Code to
   individuals not employed by the Department in connection with the implementation of
   Executive Order 14,158. The Department routinely shares information with other
   Executive departments and agencies as part of other, non-DOGE-related initiatives,
   which I do not understand to be at issue in the litigation for which I submit this
   declaration. For example, the Department routinely shares information with the Social
   Security Administration.

6. The first employee affiliated with DOGE and detailed to the Department arrived on or
   about January 28, 2025. Before granting him access to any Department systems, he was
   directed to the Office of Personnel Security, so that his background and security
   authorization could be validated and he could receive a Personal Identity Verification
   card. As I recall, he did not receive a laptop or access to any Department systems that
   day.

7. The following day, as I recall, that employee met with Department personnel to review a
   “Rules of Behavior” document, which is primarily about network behavior and access to
   information, which specifically discusses the Privacy Act, and which requires a signature.
   At that point, he was cleared and received a laptop and access to some Department
   systems.

8. The other five employees associated with DOGE (some detailed and others Department
   of Education as their home agency), went through approximately the same process, as
   this process is required as part of standard onboarding.

9. For each of these six employees, access to specific systems depended on their specific
   need and expertise, and was not granted until they had completed their background
   validation with the Office of Personnel Security, completed the Rules of Behavior
   briefing and signature, received their Personal Identity Verification card, and received a
   laptop.

                                           ***

   I declare under penalty of perjury that the foregoing is true and correct.

   Executed in Washington, DC this 15th day of February.
                                                               Digitally signed by THOMAS
                                                               FLAGG
                                                               Date: 2025.02.16 16:58:07
                                            _______________________
                                                               -05'00'
                                                 Thomas Flagg




                                             2
